Subject:    Re: Tri Star Discovery Responses
Date:       Monday, January 10, 2022 at 12:16:34 PM Central Standard Time
From:       Daniel Arciniegas
To:         Betsy Hart, roland@mumfordlaw.net
CC:         Tara Swaﬀord
A8achments: image001[52].jpg, image002.png, image003.png, image004.png

Betsy:

I’m looking at the proposed protective order, specifically at subsection 1(b) and section 8 “Disclosure
of Highly Confidential Material.” I generally do not agree to a protective orders with a two-tier
designation plan, as drafted the “Highly Confidential” designation operates as an “Attorney Eyes
Only” designation. I primarily object to such AEO designations on grounds it prejudices plaintiff by
requiring me agree to not discuss potentially probative information with my client or potential
witnesses, without the benefit of having seen the information first.

It will help me if you can give me a description or examples of the information Defendant believes falls
within this category in this case. I could possibly agree to a two-tier designation if we can tailor the
definitions of confidential and highly confidential. I was thinking something along the lines of the
following:

         (a)          “ConﬁdenSal InformaSon” means informaSon Social Security or taxpayer idenSﬁcaSon
numbers; dates of birth; names of minor children; ﬁnancial account numbers; home addresses; sensiSve
informaSon involving personal ﬁnancial, medical, matrimonial or family maZers. ConﬁdenSal InformaSon
does not include informaSon that has been disclosed in the public domain and in a manner not in conﬂict
with this Agreement.
                (b)        “Highly ConﬁdenSal InformaSon” means informaSon that consStutes a trade secret
and other conﬁdenSal research, development, or commercial informaSon that would signiﬁcantly undercut a
legiSmate compeSSve advantage of the DesignaSng Party if disclosed. Highly ConﬁdenSal InformaSon does
not include informaSon that has been disclosed in the public domain.
If we can agree on a tailored definition of “Highly Confidential Information” I have no problem with
agreeing not to disseminate. However, I need to be able to discuss with my client and potential
witnesses.

With respect to filing, I think “confidential information” as I have defined can be redacted for the most
part, obviating the need to file under seal. I think the sealing section if limited to highly confidential
information will work fine.

With respect to the designation challenge process, I believe the Designating Party should file the
motion for the Court to decide whether there is good cause as contemplated under Fed. R. Civ. 26(c).

I need to be able to keep archival copies of information provided for a period of at least 1 year after the
passage of an appeal deadlines. Also, the section would need to include “Counsel are entitled to retain
an archival copy of all pleadings, motion papers, transcripts, legal memoranda, correspondence or

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attorney work product, even if such materials contain Confidential or Highly Confidential
Information.”

These are the main issues. If we can resolve these issues then we should be able to iron out the rest
pretty quickly.

If you think we need to discuss then propose a time Wednesday for a phone conference. Thank you.



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From: Daniel Arciniegas <daniel@aZorneydaniel.com>
Date: Monday, January 10, 2022 at 9:24 AM
To: Betsy Hart <betsy@swaﬀordlawﬁrm.com>, roland@mumfordlaw.net <roland@mumfordlaw.net>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Re: Tri Star Discovery Responses

Betsy:

I would like until Friday January 14, 2022 to get you our discovery responses. Please confirm. I am
reviewing the protective order this morning. Are there any documents Defendant will be producing that
are not marked confidential or attorneys eyes only?


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From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Friday, January 7, 2022 at 4:23 PM
To: roland@mumfordlaw.net <roland@mumfordlaw.net>, Daniel Arciniegas
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Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Tri Star Discovery Responses

Daniel and Roland,

Tri Star’s responses to your client’s requests for production are attached, and below is a link to the non-
confidential document production. Please let us know if you can agree to the protective order. Once that is in
place, we will produce confidential and highly confidential documents. Thanks.


   Tri Star NON-CONFIDENTIAL Production




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